            Case 3:13-cr-02155-WQH                       Document 38                 Filed 07/09/13            PageID.78             Page 1 of 2

     ""'AO 245B (CASD) (Rev. 12/11) Judgment in a Criminal Case                                                              FILED
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                                              UNITED STATES DISTRICT COln~Ju~~lR~ ~1~T~llnR6¥TC~~I~~~NIA
                                                  SOUTHERN DISTRICT OF CALIFORNIA                                  BY                                    DEPUTY

                      UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                                        v.                                           (For Offenses Committed On or After November 1, 1987)

                  JOSE MANUEL PEREZ-MORALES (l)                                      Case Number: 13CR2155-WQH
                                                                                     SANDRA RESNICK, CJA
                                                                                     Defendant's Attorney
     REGISTRAnON NO. 39029298

     D
     THE DEFENDANT:
     Igj pleaded guilty to count(s) _l_O_F_T_H_E_I_N_F_O_RM_A_TI_O_N_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
     D      was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
            after a plea of not guilty.
            Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                                 Count
     Title & Section                         Nature of Offense                                                                                  Number(s)
8 USC 1324(a)(1)(A)(iv)                INDUCING AND ENCOURAGING ILLEGAL ALIENS TO ENTER THE US                                                  1
and (v)(Il)




        The defendant is sentenced as provided in pages 2 through                2          of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
  D The defendant has been found not guilty on count(s)
                                                            -----------------------------------------------
  D Count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is DareD dismissed on the motion of the United States.
 Igj Assessment: $100.00 - Waived


  Igj Fine waived                                   D   Forfeiture pursuant to order filed                                  , included herein.
                                                                                             ----------
         IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.

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AD 245B (CASD) (Rev. 12111) Judgment in a Criminal Case
           Sheet 2 - Imprisonment

                                                                                            Judgment   Page _ _2 _ of         2
 DEFENDANT: JOSE MANUEL PEREZ-MORALES (1)
 CASE NUMBER: 13CR2155-WQH
                                                           IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
         TIME SERVED



    o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    o The court makes the following recommendations to the Bureau of Prisons:

    o The defendant is remanded to the custody of the United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
           Oat                                     Da.m.    Dp.m.    on
               as notified by the United States Marshal.

    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       o before --------------------------------------------------------------------------
       o as notified by the United States Marshal.
       o as notified by the Probation or Pretrial Services Office.
                                                              RETURN
 I have executed this judgment as follows:

        Defendant delivered on                                                 to

 at _________________________ , with a certified copy of this judgment.


                                                                                          UNITED STATES MARSHAL


                                                                    By _ _ _ _ _ _~~~~~~~~~~------
                                                                                      DEPUTY UNITED STATES MARSHAL




                                                                                                                  13CR2155-WQH
